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                          CDs ATTACHED TO WHITEHOUSE AND SPEAR REPORTS

 CD Title                                                                            Delivered to Plan Proponents
Asbestos Common Exhibits (Spear)                                                     12/29/08
Libby Studies as of 12/08                                                            12/29/08
                                                                                     3/11/09
Trial transcripts & Lovick depos (Spear) .                                           12/29/08
Whitehouse references 12/08 .                                                        12/29/08
Whitehouse Progression films Exh. 6 12/08                                            12/29/08
CARD PFT comparison Exh. 23 12/08                                                    12/29/08
Mortality study death certificates 85 Exh. 7 12/08'                                  12/29/08
Mortality study spreadsheets Exh. 7 12/08                                            12/29/08
                                                                                     3/14/09
                                                                                     5/20/09
Libby Mesos Exh. 9 12/08                                                             12/29/08
Weill Comparison Exh. 19 12/08                                                       12/29/08
Mortality study med records 116, Exh. 7 12/08 2                                      12/29/08
                                                                                     5/20/09
Photos of pleural plaques item 3/13/09                                               5/7/09
(Exh. 5 Dead in) 123 patients in Whitehouse (2004) [medical                          12/29/08
records]3                                                                            5/7/09
Whitehouse CT & CHX readings 24 clients 3/14/09                                      3/14/09 .
Plaques to Interstitial Disease [AD and LB] 3/12/09 .                                5/7/09




               1 Strike   II   Exh 5 Dead in.   II   This was a labeling error.

              2Since 12/29/08, six ARD deaths have been eliminated:· 3 pancreatic
        cancers and 3 non-malignant ARD (Paul Collier, DBC, Delores Keller). (DBH,
        Eddie Eggers and Miles Rightmire).

               3Attached is a statement of location of attachments for death
        certificates.

        Asbestos/Clients/Bankruptcy/CDs to Reports                                                   5/16/09
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  CD TITLED "MORTALITY STUDY DEATH CERTIFICATES 85 EXH. 7 12/08"

 85     Death certificates on clients. (Bruce Baker had two death certificates
        so client total is 84.)

 84     Clients with death certificates

 32     Non-clients. See the list at Exh. 7: i. 116 mortality list" with non-client
        "patient number" 116," there are 33 numbers, there is no #5, netting
       .32 non-clients.

 116 TotalARD deaths in the study as of 12/29/08
  (3) Pancreatic cancers (DBH, Eddie Eggers, Miles Rightmire)
  (3) Reevaluated as not ARD deaths pending further information (Paul
      Collier, DBC, Delores Keller). See spreadsheet "CARD Mortality Study,
      Non-Malignant ARD Deaths Primary/Contributing Causes."

110 Deaths per totals as of May 2009

32 .    Non-clients above
·24     Have death certificates melded into medical records on CD "Mortality
        Study Medical Records 116, Exh. 7, 12/08."
  8     Have death certificates placed at the end of CD "Mortality Study
        Medical Records 116, Exh. 7,5/09."




Asbestos/Clients/Bankruptcy/CD titled Mortality Study                                  5/16/09
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                                                           116 Mortality List.xls


#         Last Name First Name                                         Ox Date      I
                                                                                      Law
                                                                                      Firm
                                                                                               I
                                                                                              Exo
                                                                                                     IPer Per
                                                                                                      DC BE
                                                                                                                 ICounty of
                                                                                                                   Death
      11ACL          ACL                                   5/1272004T-- -- -- Inone -erC or FM IYes YesTUncoln
      2 IAdKins       Dean V                                2/fllCf05Ta/24/2001)fMHSMiFM           IYes Yes ILincoln
      31AlsDury       Fredrick G                           572B/200N 6/26/1997IlSK         IW      IYes YesTIJncoln
      41Badafe        WilliamJ                             9/25/2(f01r-1/1/199NMHSM,W              IYes Yes IHiII
    . 51Baenen     "K. Ruth                                 21812006r '2115l20()0fMRSM fFM . -TYes Yes ILincoln "
      61 Baenen       Louis J                              97271199T1J221199BIMHSM IW-- -rNo              Yes·fLinCOIn
      71Baker         Mildred M                             7/97200BI-1/~J1995rMASMIF~ --lYes YesTL:h,coln
      BlBaker         Percv H                              1/f912UOor----"LSK-TC- ~'?es Yes ILincoln
      91 Baker        Bruce C                               2/4/2002r3/21/2000lMHSM IW- -,Ves Yes IYakima WA
     10lBasham      'IJohn                                  1J17l003T -'flfrl2()rrffMffS~iFM -IYes Yes ILincoln :
     111BBH           BBH                     1/2211923110/11120041        ,., --rnone- -rCorFM1Yes YesTCincoln
     121Bennett       Lois A                  f1/2719-36r 3/15J200-1f10114/1998IMH-SlTTFM          IYes Yes IBenton WA
     131Bennett       fl7!onte13              2117/19531 7111/20041                ILSK    IW      rYes Yes IKooten-ai 10
     141BGM           BGM                     1~17719"26r 'f113720U3f- --Inone-Ieer-FMTYes Yes ILincoln
     151BJH         ··BJH                     7Jt611942f9121J2007T           - -Tnone -Ie orF-M1No "fesTLincoln .
     16lBrothers      Lester 0                612171-g-36f 3/1612006Tl)/27J2004TMRSMI C           -lYes Yes lUncoln
     17/Burton        Sharon~C                   12719431--21712(f07T,/10/2IT01TMASM IFM-- lNo YeslFlalhead
     1BICarr          WilliamB                7/13/f9"32r10110720-01f-1/1/19"99rMRSM rsuD           INo Yes ISpokane WA
     191Challinor     James P                 H)/1Tflr34r 8/2472003f-S/ID2001TMASM ISub             IYes Yes ILincoln
     20 ICole          Francis E              9l15/1923r4/r4flOO'tT~               rlSK - IC        IYes Yes- rUncoln .
     211Cole           Myra E                 '4/5/192or10/~1/2007r---- TLSK-IC-                    IYes Yes ILincoln
     221Collier        JoAnn J                6/25/19341 1212BJ200"5f1172512003rMRSM IC -          Wes Yes ILincoln
     23fCollier        PaulO                  9/221193"~3/212004f10/30/2000TMHSM           Ie - - -rNo Yes HmoerialCA
     241Collinson      Charles H                                       B/25/2001)fMHSM1W- --Wes Yes Ilincoln
     ~5lConn           Cornelia                                         H>18/200lTM.-fSlV'ItCr--IYes Yes ILincoln
     261Cml, Jr        HaroICl-C                                                    LSK- IC-        IYes Yes ILincoln
     271DAA            DAA                                                          none IC or FM1Yes Yes ILincoln
     2BIDavidson       Richard G                                        9/21/1991nMHSM IW -         TNo YesTSpokaneWA
     291 Davidson      James E                                                      LSK     IW       IYes Yes rlincoln
    ~orOBC           DBC                                                            none ICpfFM~INo VesIDrieoln
    311DBH                                                                          none ICor FM1Yes YesTLincoln
    321Dennin                                                           77221199BIMHsM-rw-           IYes Yes II-incoln
    331 DeShazer                                                         71711997IMHSM-lW-           IYes YeSTLi,'-coln
    341 DeShazer      Margaret E                                         7n/1997fMHSM IF~n- lYes YeslLi'lcoln
    35IDeShazer       Gerald 0                                          S129120011MffSM 1~--lYes Yes 'IUncoln
    361DeShazer       Donald L                                          7/13/198-mMHSM,W- n          INo Yes lCowlitz WA
    371 Dickerman     Alfred M                                          4/13/2000lMRSM IW- -IYes YesTSookane WA
    381DIK            DIK                                                            none IC orFM INo Yes ILincoln
                      Ronald 0                                                       LS~-IW       ,Yes Yes ILincoln
    391Doubek
    40lDRH            DRH                                                            none IC or FM1No      YeSTlfncoln
    41lEaaers         EddieE                                              115J199~MHSM IW-            lYes YeslMinerai
                      EIDM                                                              none   IC or FMlYes   Yes ILincoln
    421ElDM
    431EJM '          EJM                                                               none   Ie or FM INo   Yes ILincoln

                                                                                                                              5/13/09
